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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                                 )
 ROOFER’S PENSION FUND, Individually             )   No. 16-CV-2805-MCA-LDW
 and on Behalf of All Others Similarly           )
 Situated,                                       )
                                                 )
                                 Plaintiffs,     )   NOTICE OF JOINT MOTION TO SEAL A
                                                 )   PORTION OF CLASS CERTIFICATION
                        v.                       )   PAPERS
                                                 )
 PAPA, et al.,                                   )
                                                 )
                                Defendants.      )


         PLEASE TAKE NOTICE that on July 15, 2019 at 10:00 am, or as soon thereafter as

 counsel may be heard, lead plaintiff Perrigo Institutional Investment Group (“Lead Plaintiff”)

 and defendant Perrigo Company plc (“Perrigo”) shall move before the Honorable Leda Dunn

 Wettre, Magistrate Judge, United States District Court, District of New Jersey, for an Order

 pursuant to L. Civ. R. 5.3 sealing the portions of class certification papers that each identifies on

 the Index annexed hereto as Exhibit 1, and granting such further relief as the Court may deem

 appropriate.

         PLEASE TAKE FURTHER NOTICE that in support of the portion of the Joint Motion

 addressing Lead Plaintiff’s requests to seal, Lead Plaintiff will rely on the accompanying

 Declaration of Joshua B. Silverman and Memorandum of Law, both dated June 19, 2019, and in

 support of the portion of the Joint Motion addressing Perrigo’s requests to seal, Perrigo will rely

 on the accompanying Declaration of James E. Anklam and Letter Brief, both dated June 19,

 2019.

         PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

 herewith.
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 Dated: June 19, 2019                      Respectfully submitted,

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